Case 8:19-cv-00448-VMC-CPT Document 23 Filed 04/22/19 Page 1 of 43 PageID 160



                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION

U.S. SECURITIES AND EXCHANGE
COMMISSION,

       Plaintiff,

v.                                                       Case No: 19-cv-448-T-33CPT

SPARTAN SECURITIES GROUP, LTD.
ISLAND CAPITAL MANAGEMENT,
CARL E. DILLEY, MICAH J. ELDRED and
DAVID D. LOPEZ,

       Defendants.


     DEFENDANTS SPARTAN SECURITIES GROUP, LTD., ISLAND CAPITAL
 MANAGEMENT, CARL E. DILLEY, AND DAVID D. LOPEZ’S MOTION TO DISMISS
   PLAINTIFF’S COMPLAINT AND INCORPORATED MEMORANDUM OF LAW




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Case 8:19-cv-00448-VMC-CPT Document 23 Filed 04/22/19 Page 2 of 43 PageID 161


                                                  TABLE OF CONTENTS
Table of Authorities ....................................................................................................................... iii
I.    Summary of Argument ............................................................................................................ 1
           A. A Brief Overview of the Form 211 and DTC Processes .............................................. 1
           B. The Role of a Transfer Agent ....................................................................................... 4
           C. Related Prosecution of the Actual Fraudsters ............................................................... 5
           D. Defendants’ Connection................................................................................................ 5
II. Argument ................................................................................................................................. 7
           A. All Claims Against Spartan, Island, Mr. Lopez and Mr. Dilley Should Be Dismissed
              Because Plaintiff Has Failed To Comply With Federal Rules Of Procedure 8(a) and
              9(b) ................................................................................................................................ 7
                1. Plaintiff’s Conclusory Allegations Compel Dismissal Under Rule 8(a) ................ 7
                2. Plaintiff’s Fraud-Based Claims Should Be Dismissed For Failure to Plead Fraud
                   with Particularity under Rule 9(b) .......................................................................... 8
           B. The Complaint is an Improper “shotgun pleading” ...................................................... 9
           C. Plaintiff’s Claims Should be Dismissed Pursuant to Federal Rule of Civil Procedure
              12(b)(6) for Failing to State a Claim........................................................................... 10
                1. The Sections 17(a) and 10b-5(b) claims should be dismissed because the SEC has
                   failed to allege Defendants “made” a “material” misrepresentation to the investing
                   public. (Counts 3 and 6) ....................................................................................... 10
                      a.     Neither Spartan, Island, nor Mr. Dilley “made” a statement.” ...................... 11
                      b.     Any statements attributable to Spartan or Mr. Dilley are not material. ........ 12
                      c.     None of the identified statements was made to the investing public. ........... 15
                      d.     No evidence of scienter. ................................................................................ 16
           D. The Complaint does not allege that Defendants acted with the requisite scienter.
              (Counts 3 and 5-7) ...................................................................................................... 16
                1. Insufficiency of “Red Flags” Identified in the Complaint .................................... 17
                      a.     Red Flags arising out of the public filings with the SEC. ............................. 18
                               i. “Red Flags” arising out of communications with Mirman or Rose. ...... 21
           E. Failure to State a Claim For Aiding and Abetting (Counts 2 and 8-13) ..................... 23
                1. The Complaint Fails to Allege “Recklessness” .................................................... 23
                2. The Complaint fails to allege “substantial assistance” ......................................... 24
           F. No Scheme Liability (Counts 3- 5 and 7) ................................................................... 26
           G. The Complaint Fails To Allege A Section 5 Violation............................................... 27




                                                                         i
Case 8:19-cv-00448-VMC-CPT Document 23 Filed 04/22/19 Page 3 of 43 PageID 162

             1. According to the Complaint, Registration Statements had been filed for all
             Companies................................................................................................................... 27
             2. No Facts Supporting Indirect Seller liability under Section 5 .............................. 28
       H. The Majority of the Conduct at Issue is Time Barred ................................................ 31
III.   Conclusion ......................................................................................................................... 35




                                                                    ii
Case 8:19-cv-00448-VMC-CPT Document 23 Filed 04/22/19 Page 4 of 43 PageID 163



                                         TABLE OF AUTHORITIES
CASES
Aaron v. SEC, 446 U.S. 680 (1980) .............................................................................................. 16
American Dental Ass’n v. Cigna Corp., 605 F.3d 1283 (11th Cir. 2010) ...................................... 7
Ashcroft v. Iqbal, 129 S. Ct. 1937 (2009) ................................................................................... 7, 8
Basic Inc. v. Levinson, 485 U.S. 224 (1988)................................................................................. 12
Bell Atlantic Corp. v. Twombly, 550 U.S. 544 (2007) .................................................................. 10
Bryant v. Avado Brands, Inc., 187 F.3d 1271 (11th Cir. 1999) .................................................... 20
Butterworth v. Quick & Reilly, Inc., 998 F.Supp. 1404 (M.D. Fla. 1998) .................................... 14
Cutsforth v. Renschler, 235 F.Supp. 2d 1216 (M.D. Fla. 2002) ................................................... 14
Davis v. Coca-Cola Bottling Co. Consol., 516 F.3d 955 (11th Cir. 2008) ..................................... 7
Gabelli v. SEC, 133 S. Ct. 1216 (2013) ........................................................................................ 31
Greenberg v. Bear, Stearns & Co., 220 F.3d 22 (2d Cir. 2000) ................................................... 25
Harris v. Ivax Corp., 182 F.3d 799 (11th Cir. 1999) ................................................................... 20
Investors Research Corp. v. SEC, 628 F.2d 168 (D.C. Cir. 1980) ............................................... 24
Janus Capital Grp., Inc. v. First Derivative Traders, 564 U.S. 135 (2011) ................................. 11
KLX, Inc. Sec. Litig., 232 F. Supp. 3d 1269 (S.D. Fla. 2017) ....................................................... 12
Kokesh v. SEC, 137 S. Ct. 1635 (2017) ............................................................................ 31, 32, 33
La Grasta v. First Union Secs. Inc., 358 F.3d 840 (11th Cir. 2004) ............................................ 20
Lawrence v. Bank of America, N.A., 2010 WL 3467501 (M.D. FL Aug. 30, 2010) .............. 24, 25
Miyahira v. Vitacost.com, Inc., 2012 WL 12895513 (S.D. Fla. June 28, 2012), ......................... 14
Mizzaro v. Home Depot, Inc., 544 F.3d 1230 (11th Cir. 2008) .............................................. 17, 19
Mogensen v. Body Corp., 15 F.Supp. 3d 1191, 1211 (M.D. Fla. 2014) ...................................... 14
Nelson v. Hodowal, 512 F.3d 347, 350 (7th Cir. 2008) ................................................................ 14
Novak v. Kasaks, 216 F.3d 300, 306 (2d Cir. 2000) ..................................................................... 16
Ocasio-Hernandez v. Fortuno-Burset, 640 F.3d 1, 12 (1st Cir. 2011) ......................................... 10
Ply Gem Holdings, Inc. Sec. Litig., 135 F. Supp. 3d 145, 150–51 (S.D.N.Y. 2015) .................... 12
Saad v. SEC, 873 F.3d 297 (D.C. Cir. 2017) ................................................................................ 33
SEC v. Apuzzo, 689 F.3d 204 (2d Cir. 2012) ................................................................................ 25
SEC v. Bankatlantic Bancorp, Inc., 2012 WL 1936112 (S.D. Fla. May 29, 2012))....................... 8
SEC v. Berry, 580 F.Supp. 2d 911 (N.D. Cal. 2008) .................................................................... 26


                                                                iii
Case 8:19-cv-00448-VMC-CPT Document 23 Filed 04/22/19 Page 5 of 43 PageID 164



SEC v. Big Apple Consulting USA, Inc., 783 F.3d 786 (11th Cir. 2015)...................................... 23
SEC v. Calvo, 378 F.3d 1211 (11th Cir. 2004) ...................................................................... 27, 28
SEC v. CMKM Diamonds, Inc., 729 F.3d 1248 (9th Cir. 2013) ....................................... 27, 29, 30
SEC v. Cohen, 332 F. Supp. 3d 575 (E.D.N.Y. 2018) ............................................................ 32, 33
SEC v. Collyard, 861 F.3d 760 (8th Cir. 2017) ............................................................................ 33
SEC v. Conrad, 2017 WL 3485766 (N.D. Ga. Feb. 22, 2017) .................................................... 24
SEC v. Converge Glob., Inc., 2006 WL 907567 (S.D. Fla. Mar. 10, 2006) ................................. 32
SEC v. Coplan, 2014 WL 695393 (S.D. Fla. Feb. 24, 2014) ....................................................... 32
SEC v. Fraser, 2010 WL 5776401 (D. Ariz. Jan. 28, 2010)......................................................... 26
SEC v. Gane, 2005 WL 90154 (S.D. Fla. Jan. 4, 2005)................................................................ 32
SEC v. Graham, 823 F.3d 1357 (11th Cir. 2016) ................................................................... 31, 33
SEC v. Holschuh, 694 F.2d 130 (7th Cir. 1982) ........................................................................... 28
SEC v. Levin, 2013 WL 5588224 (S.D. Fla. Oct. 10, 2013) ......................................................... 24
SEC v. Lucent Techs., Inc., 363 F. Supp. 2d 708 (D.N.J. 2005) ................................................... 24
SEC v. Merch. Capital, LLC, 483 F.3d 747 (11th Cir. 2007) ....................................................... 11
SEC v. Murphy, 626 F.2d 633 (9th Cir. 1980) ................................................................. 28, 29, 30
SEC v. Parnes, 2001 WL 1658275 (S.D.N.Y. Dec. 26, 2001) ....................................................... 8
SEC v. Power, 525 F. Supp. 2d 415 (S.D.N.Y. 2007) .................................................................... 8
SEC v. Radius Capital Corp., 2013 WL 3716394 (M.D. Fla. July 15, 2013) .............................. 33
SEC v. Rio Tinto, 2019 WL 1244933 (S.D.N.Y. Mar. 18, 2019) ................................................. 24
SEC v. Roanoke Tech. Corp., 2006 WL 2470329 (M.D. Fla. Aug. 24, 2006) ............................. 14
SEC v. Solow, 2007 WL 917269 (S.D. Fla. Mar. 23, 2007) ....................................................... 8, 9
SEC v. Surgilight, 2002 WL 3161908 (M.D. FL Oct. 15, 2002) .................................................. 25
SEC v. Teo, 746 F.3d 90, 102 (C.A.3 2014) ................................................................................. 32
SEC v. Texas Gulf Sulphur Co., 401 F.2d 833, 860–62 (2d Cir. 1968) ........................................ 16
SEC v. Thompson, 238 F.Supp. 3d 575, 591 (S.D.N.Y. 2017) ..................................................... 18
SEC v. Weintraub, 012 WL 13012751, at *2 (S.D. Fla. Jan. 10, 2012) ....................................... 32
SEC v. Wey, 246 F.Supp. 3d 894, 911 (S.D.N.Y. 2017) ................................................... 18, 24, 25
SEC v. RPM Int'l, Inc., 282 F.Supp. 3d 1, 13 (D.D.C. 2017) ....................................................... 18
Semerenko v. Cendent Corp., 223 F.3d 165 (3rd Cir. 2000) ........................................................ 16
Simpson v. AOL Time Warner, Inc., 452 F.3d 1040 (9th Cir. 2006) ........................................... 26
Swierkiewicz v. Sorema N. A., 534 U.S. 506 (2002) .................................................................... 10

                                                             iv
Case 8:19-cv-00448-VMC-CPT Document 23 Filed 04/22/19 Page 6 of 43 PageID 165



Thompson v. RelationServe Media, Inc., 610 F.3d 628 (11th Cir. 2010) ............................... 13, 20
Wagner v. First Horizon Pharm. Corp., 464 F.3d 1273 (11th Cir. 2006) .................................. 8, 9
Woods v. Barnett Bank of Fort Lauderdale, 765 F.2d 1004 (11th Cir. 1985) .............................. 23
Woodward v. Metro Bank of Dallas, 522 F.2d 84, 94–95 (5th Cir. 1975) ............................. 24, 26

STATUTES
15 U.S.C. §77e ("Section 5") ...................................................................................... 27, 28, 29, 30
15 U.S.C. §77q(a) ("Section 17(a) of the Securities Act") ............................................... 11, 16, 18
28 U.S.C. § 2462 ........................................................................................................................... 31


RULES AND REGULATIONS

§ 240.15c2–11 ("Rule 211") ............................................................................. 1, 2, 3, 6, 13, 21, 25
17 C.F.R. §231.144 (“Rule 144”) ................................................................................................. 29
17 C.F.R. § 230.156(b) ................................................................................................................. 12
17 C.F.R. §230.405 ....................................................................................................................... 18
17 C.F.R. §230.419 ....................................................................................................................... 18
17 C.F.R. §240.3a51-1 .................................................................................................................. 18
17 C.F.R. §240.10b-5(a) ("Rule 10b-5(a) of the Exchange Act") .............................. 10, 16, 18, 26
17 C.F.R. §240.10b-5(b) ("Rule 10b-5(b) of the Exchange Act") .................................... 10, 16, 18
17 C.F.R. §240.10b-5(c) ("Rule 10b-5(c) of the Exchange Act") .............................. 10, 16, 18, 26
Fed. R. Civ. P. Rule 8(a) ........................................................................................................... 7, 17
Fed. R. Civ. P. Rule 9(b) ............................................................................. 1, 3, 6, 8, 13, 15, 21, 25
Fed. R. Civ. P Rule 12(b)(6) .................................................................................................. 10, 15
FINRA Rule 6432 ........................................................................................................................... 3
NASD Rule 5250 .......................................................................................................................... 25


OTHER AUTHORITIES

NASD Notice to Members 92-50, Procedures Regarding Securities and Exchange Commission
 Rule 15c2-11 and Schedule H, Section 4 of the NASD By-Laws
 http://finra.complinet.com/en/display/display_main.html?rbid=2403&element_id=1675 ... 2, 13
U.S. Securities and Exhange Commission Edgar Company Filings:
  https://www.sec.gov/edgar/searchedgar/companysearch.html ..................................... 14, 20, 22


                                                                      v
Case 8:19-cv-00448-VMC-CPT Document 23 Filed 04/22/19 Page 7 of 43 PageID 166



        Pursuant to Rules 8(a), 9(b) and 12(b)(6) of the Federal Rules of Civil Procedure,

Defendants Island, Spartan, Mr. Dilley and Mr. Lopez (“Defendants”) 1 hereby move to dismiss

each claim alleged in the Complaint and respectfully submit the following memorandum of law in

support.

I.      SUMMARY OF ARGUMENT

        Plaintiff alleges that each Defendant knowingly or recklessly failed to detect certain “red

flags” purportedly indicative of a secret fraud being perpetrated by certain third parties. Despite

its length, the Complaint lacks the necessary substantive and organizational specificity under the

Federal Rules, making it impossible to determine which “red flags” support which Count.

        Instead of making sufficient factual allegations, Plaintiff instead merely insinuates that

Spartan, in filing a Form 211 application for each of the underlying issuers, and Island, by

following share transfer directives from issuers has, through their respective principals, violated

or aided and abetted a violation of the federal securities laws. Insinuation aside (as is required for

Rule 12(b) motions), the Complaint fails to set forth facts sufficient to support its allegations.

        A.      A Brief Overview of the Form 211 and DTC Processes.

        A brief overview of the landscape is a good starting point, given that this case arises in a

niche area of the securities world. Spartan is a broker-dealer, registered with FINRA, and an active

“market maker.” One of its lines of business is to file Rule 211 applications with FINRA in order

to publish quotations for reporting public companies.

        A Form 211 application is a mere seven pages in length. Pursuant to SEC Rule 15c2-11,

market maker broker-dealers submit the Form to FINRA asking for “clearance” to initiate a public

quotation of an issuer’s securities on a registered, public secondary market (as opposed to a


1
  Mr. Eldred has filed a separate Motion to Dismiss and is excluded from the definition of “Defendants”
in the limited context of this motion.


                                                    1
Case 8:19-cv-00448-VMC-CPT Document 23 Filed 04/22/19 Page 8 of 43 PageID 167



national exchange like the Nasdaq or NYSE). This is true even in the case of a public reporting

company (meaning a registration statement is on file with and has already been made effective by

the SEC). FINRA, in response to the application, almost always responds with additional

questions and/or requests for information about the issuer. Once FINRA is satisfied with the

information received, it will “clear” the application, allowing the shares to be publicly quoted and

traded.

          SEC Rule 15c2-11 specifically sets forth what the broker-dealer must do prior to initiating

the quotation. The broker-dealer must: (1) gather and maintain certain information regarding the

issuer, and (2) have a “reasonable basis” for believing that the information is accurate in all

“material” respects.2      A broker-dealer satisfies its first obligation (to gather and maintain

information) if it “has, in its possession, a prospectus as defined by Section 10(a) of the Securities

Act[] that has been filed with the Commission and which has been in effect less than 90 calendar

days.” NASD Notice to Members 92-50. 3 A broker-dealer satisfies the second requirement under

Rule 211 (a “reasonable basis” for believing that information to be materially accurate) when it

obtains that information from the issuer, an agent of the issuer, or from a document publicly filed

with the Commission4 and where no “material deficiencies” in the information have been




2
  § 240.15c2–11(a): “As a means reasonably designed to prevent fraudulent, deceptive, or manipulative
acts or practices, it shall be unlawful for a broker or dealer to publish any quotation for a security … unless
such broker or dealer has in its records the documents and information required by this paragraph … and,
based upon a review of the paragraph (a) information together with any other documents and information
required by paragraph (b) of this section, has a reasonable basis under the circumstances for believing that
the paragraph (a) information is accurate in all material respects, and that the sources of the paragraph (a)
information are reliable.
3
   http://finra.complinet.com/en/display/display_main.html?rbid=2403&element_id=1675 (last visited
4/18/19).
4
  Id. (“Generally, a broker/dealer can be satisfied that information is obtained from a reliable source if it is
received from the issuer or its agents, or was obtained from an independent information service such as the
Commission's public reference room.”


                                                       2
Case 8:19-cv-00448-VMC-CPT Document 23 Filed 04/22/19 Page 9 of 43 PageID 168



detected.5 “Material deficiencies” generally relate to the financial condition of the issuer.6 Assuming that

the broker-dealer has compiled the requisite information about the issuer and no material deficiencies are

detected, the broker-dealer has satisfied its obligations under Rule 211.

          Because SEC Rule 15c2-11 allows broker-dealers to initiate price quotations based on an

issuer’s public filings, there is no requirement that the broker-dealer have any contact with the

issuer itself. If the information required by the Rule or requested by FINRA in the process can be

obtained through public filings, the broker-dealer is specifically permitted to rely upon the

accuracy of that information and base its price quotation on the same. Thus, while the broker-

dealer is allowed to seek (and rely on) information obtained from the issuer, Rule 15c2-11 does

not obligate them to do so.

          To ensure that quotations are based solely on the qualities of the issuer – and not on some

other motivation – FINRA Rule 6432 prohibits broker-dealers from receiving any compensation

for filing a Form 211.7 This means that Spartan filed the Form 211 applications at issue in this

case, potentially subjecting itself to the sweeping liability the SEC seeks to impose, for free.

          Once FINRA clears a Form 211, which allows market makers to quote the issuer’s shares

in the public secondary market, a DTC Participant Clearing Firm submits an application to DTC 8

requesting that the shares be made DTC eligible. DTC eligibility allows the (now publicly quoted)


5
  Id. (“Ordinarily the broker/dealer need not do any further review unless a potential material deficiency
has been detected. Examples of potential material deficiencies are material inconsistencies in the
information or between the information and other information in the broker/dealer's possession, a qualified
auditor's report, a recently acquired asset that materially enhances the financial condition of the issuer, or a
material asset listed on the balance sheet that is unrelated to the issuer's business.”)
6
   Id. (“Examples of potential material deficiencies are material inconsistencies in the information or
between the information and other information in the broker/dealer's possession, a qualified auditor's report,
a recently acquired asset that materially enhances the financial condition of the issuer, or a material asset
listed on the balance sheet that is unrelated to the issuer's business.”)
7
    FINRA Rule 6432.
8
    Depository Trust Corporation.


                                                       3
Case 8:19-cv-00448-VMC-CPT Document 23 Filed 04/22/19 Page 10 of 43 PageID 169



 shares to be held at DTC electronically as a custodian for broker-dealers depositing those shares

 on their own behalf or on behalf of their clients. DTC eligibility also allows for transactions in the

 public secondary market to be efficiently settled between brokerage firms (DTC guarantees

 settlement of DTC eligible securities). Nearly all publicly traded securities in the United States

 are DTC eligible. None of the Defendants here had any role in the DTC process. Spartan does not

 and cannot submit information to DTC; rather, Spartan merely transmits certain information to the

 DTC Participant Clearing Firm, upon request.

         Unlike the limited obligations placed on a broker-dealer which submits a Form 211

 application to review the information supplied by or on behalf of an issuer, a DTC Participant

 Clearing Firm is required to conduct broad due diligence of the information it receives (from any

 source) before submitting the application to DTC for approval and is required to represent and

 warrant that (1) the issuer complies with all securities rules and regulations, (2) the securities being

 made eligible are either registered or exempt from registration, and (3) all information provided

 on or with the application is true, accurate and correct. The DTC application for almost all of

 underlying companies was approved. None of the DTC Participant Clearing Firms has been

 charged for due diligence failures in connection with these frauds.

         B.      The Role of a Transfer Agent.

         Transfer agents, like Island, are agents of the issuer, not the individual shareholders of the

 issuer. They are regulated, primarily, by the state Uniform Commercial code (“UCC”), which

 governs the (very tight) timeline by which a transfer agent must comply with a share transfer

 directive received from the shareholder. Essentially, they are professional record keepers who

 perform the ministerial function of recording share ownership, at the direction of the issuer, to

 assist in the facilitation of settlement of securities. Transfer agents do not “carry” accounts, as

 broker-dealers sometimes do, nor do they play a similar role in the sales transaction, such as


                                                    4
Case 8:19-cv-00448-VMC-CPT Document 23 Filed 04/22/19 Page 11 of 43 PageID 170



 recommending or soliciting purchases/sales or making suitability determinations. Instead, only

 after a purchase decision has been made, and an agreement reached between buyer and seller, does

 the transfer agent become involved at all.

        C.        Related Prosecution of the Actual Fraudsters.

        The Complaint alleges two separate fraudulent “schemes.” In the first fraudulent scheme,

 Alvin Mirman and Sheldon Rose assisted companies to prepare and file registration statements

 with the SEC representing that the companies were legitimate start-up businesses (i.e., not shell

 companies), looking to raise money to fund their operations and business objectives. Years later,

 the SEC found Mirman and Rose guilty of fraud, finding that the representations in those filings

 were false, and that the companies which looked like start-ups lied in their securities filings with

 regard to their true business intentions. Specifically, contrary to the representation that each

 company intended to continue operations (and had no merger intentions), each company secretly

 intended to sell itself once it attained public status to a buyer who wanted the entity not for its

 claimed operational value or business objectives, but, rather, for its value merely as a publicly

 traded entity.

        In the second fraudulent scheme, Harrison and Daniels are alleged to have had the same

 intention (selling public companies), but implemented it in a different manner. The Harrison

 companies were primarily operational businesses with existing operations and revenues. Harrison

 is accused of fabricating the underlying information necessary to take those companies public so

 that they could then be sold, not for their operational value but for their value as public entities.

        D.        Defendants’ Connection.

        None of the Defendants in this proceeding worked for any of the issuers as an employee,

 officer, director, attorney, auditor or accountant, i.e., in a role that provided access to what the

 entity was intending or doing. All Spartan did was file the Form 211, a process that, as noted


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Case 8:19-cv-00448-VMC-CPT Document 23 Filed 04/22/19 Page 12 of 43 PageID 171



 above, predominantly involves the collection of material to support the ultimate public quotation,

 and which is done for no remuneration. Mr. Dilley was the primary contact at Spartan for the

 Mirman and Rose Companies.9               The Complaint alleges that, as a result of a handful of

 communications and alleged “red flags,” Mr. Dilley (and, therefore, Spartan) should have known

 the underlying entities were not what they represented themselves to be in their public filings.

            As to Island, the SEC alleges that these same red flags should have caused Island to impose

 a restrictive legend on the securities, thereby blocking the contemplated transfer from buyer to

 seller. The SEC’s problem is twofold. First, there is no law obligating or authorizing a transfer

 agent to sua sponte impose a restrictive legend on securities contrary to the direction of the issuer

 which has represented those securities were free trading. Imposing this obligation upon a transfer

 agent is a truly breathtaking expanse of prosecutorial power, unsupported by statute, regulation, or

 case law. Second, the SEC has failed to plead facts sufficient to establish this novel theory.

            Finally, there is one more defendant, David Lopez, Spartan’s Chief Compliance Officer.

 Mr. Lopez is accused of aiding and abetting Spartan in violating Rule 15c2-11. The SEC alleges

 generally that Mr. Lopez was a “substantial factor” in Spartan’s “failure to have a “reasonable

 basis” for believing the information received from the companies was accurate because Mr. Lopez

 (1) was the CCO and (2) “personally undertook responsibility for much of the Form 211 process”

 for the Mirman/Rose companies. (¶ 9). 10 The Complaint fails to articulate any facts, however, to

 support this general allegation, i.e., to state when or how Mr. Lopez “personally undertook

 responsibility” or how his (unspecified) conduct supports the elements of the sole allegation levied

 against him.


 9
   Because Mr. Eldred was the primary contact at Spartan for the Harrison companies, the facts and
 allegations relating to those charges are addressed in the contemporaneous motion filed by Mr. Eldred.
 10
      All paragraphs cited in this Motion refer to the Complaint filed February 20, 2019.


                                                        6
Case 8:19-cv-00448-VMC-CPT Document 23 Filed 04/22/19 Page 13 of 43 PageID 172



         Indeed, with respect to all the charges set forth in the Complaint, when the legal

 conclusions are stripped away, and only the actual facts are reviewed in the context of the specific

 Counts they purport to support, the glaring cracks in the Complaint emerge and the inferences the

 SEC seeks to draw are obviously untenable.

         Accordingly, for the reasons set forth below, the Complaint should be dismissed.

 II.     ARGUMENT11

         A.       All Claims Against Spartan, Island, Mr. Lopez and Mr. Dilley Should Be
                  Dismissed Because Plaintiff Has Failed To Comply With Federal Rules Of
                  Procedure 8(a) and 9(b).

                  1.      Plaintiff’s Conclusory Allegations Compel Dismissal Under Rule 8(a).

         The Complaint is required to comply with Rule 8(a), which mandates dismissal when it

 fails to “contain sufficient factual matter, accepted as true, to ‘state a claim to relief that is plausible

 on its face.’” Ashcroft v. Iqbal, 129 S. Ct. 1937, 1949 (2009) (quoting Bell Atlantic Corp. v.

 Twombly, 550 U.S. 544, 570 (2007)); see also Davis v. Coca-Cola Bottling Co. Consol., 516 F.3d

 955, 974 (11th Cir. 2008) (factual allegations must rise to a right to relief above the speculative

 level; they must plausibly suggest a violation of law). A complaint should be dismissed “where

 the well-pleaded facts do not permit the court to infer more than the mere possibility of

 misconduct.” In making that determination, courts may “infer from the factual allegations in the

 complaint ‘obvious alternative explanation[s],’ which suggest lawful conduct rather than the

 unlawful conduct the plaintiff would ask the court to infer.” American Dental Ass’n v. Cigna

 Corp., 605 F.3d 1283, 1290 (11th Cir. 2010).




 11
   Mr. Eldred has filed a motion to dismiss Counts 2-13 alleged against him. To the extent the Complaint
 fails to state a claim against Mr. Eldred, it likewise fails to state a claim against Spartan by virtue of Mr.
 Eldred’s conduct. Accordingly, to the extent Mr. Eldred’s Motion to Dismiss is granted in whole or in
 part, the same claims should be dismissed as to Spartan.


                                                       7
Case 8:19-cv-00448-VMC-CPT Document 23 Filed 04/22/19 Page 14 of 43 PageID 173



            As set forth, below, when the Complaint is stripped of its legal conclusions and formulaic

 recitation of the elements, it becomes clear that the SEC has offered no facts that would allow a

 reasonable fact-finder to conclude that Spartan, Island, Mr. Lopez or Mr. Dilley knew or should

 have known of the secret, fraudulent intent inside the minds of the underlying fraudsters, or that

 they substantially assisted in a scheme.12

                    2.      Plaintiff’s Fraud-Based Claims Should Be Dismissed For Failure to
                            Plead Fraud with Particularity under Rule 9(b).

            Because the SEC bases each claim for relief (both its fraud claims and non-fraud claims)

 on the allegation that Defendants engaged in fraudulent conduct, the SEC’s allegations are subject

 to the heightened pleading standard of Fed. R. Civ. P 9(b) and must be stated with particularity.

 Wagner v. First Horizon Pharm. Corp., 464 F.3d 1273, 1278 (11th Cir. 2006). In a case like this,

 where the SEC has conducted a lengthy investigation, courts apply Rule 9(b) rigorously. SEC v.

 Parnes, 2001 WL 1658275, at *5 (S.D.N.Y. Dec. 26, 2001); SEC v. Solow, 2007 WL 917269, at

 *2 (S.D. Fla. Mar. 23, 2007) (Rule 9's heightened pleading standard also applies to securities-

 related fraud cases brought by the SEC). This is true for the SEC’s fraud claims (Counts 2-13)

 and its claims for rule violations which are premised on the same, alleged fraud (Counts 1 and 14).

 SEC v. Power, 525 F. Supp. 2d 415, 423 (S.D.N.Y. 2007). In the securities context, courts have

 explained that Rule 9(b) requires the Complaint set forth (1) “precisely what statements or

 omissions were made”; (2) the time and place of each statement; (3) the manner in which they

 misled the investor; and (4) what the defendant obtained as a result of the fraud. SEC v.

 Bankatlantic Bancorp, Inc., 2012 WL 1936112, at *8 (S.D. Fla. May 29, 2012) (emphasis in

 original) (quoting Find What Inv. Grp. v. Findwhat.com, 658 F.3d 1282, 1296 (11th Cir. 2011)).




 12
      Ashcroft, 129 S. Ct. at 1949.


                                                    8
Case 8:19-cv-00448-VMC-CPT Document 23 Filed 04/22/19 Page 15 of 43 PageID 174



        Here, the facts as pled fail to set forth any of the above information. Instead, the Complaint

 contains (1) repetitive legal conclusions alleging (but not pleading) that Defendants should have

 known something, and (2) a selection of “red flag” communications and interactions, spread across

 two different entities and processes (i.e., the Form 211 process handled by broker-dealers and the

 share transfer process done by transfer agents), 19 different issuers, a five-year period, and an

 unspecified number of share transfers. The SEC fails to set forth facts sufficient for Defendants

 (much less the Court) to determine which red flags supposedly give rise to which purported

 violations. Beyond that, the Complaint fails to set forth facts sufficient to show that these red

 flags, taken alone or viewed cumulatively, were sufficient to give rise to an inference that the

 Defendants “should have known” of the underlying fraud.

        In light of these failures, the Complaint should be dismissed.

        B.      The Complaint is an Improper “shotgun pleading.”

        “Shotgun pleadings are those that incorporate every antecedent by reference into each

 subsequent claim for relief.” Wagner, 464 F.3d at 1279. The Eleventh Circuit has held that shotgun

 pleadings do not satisfy Rule 9(b)’s pleading standards. Id. at 1280. This includes instances where

 the SEC’s complaint re-alleges all factual paragraphs in the pleading into each count, with no effort

 to state with particularity which specific factual allegations apply to which claim for relief, leaving

 Defendants unable to discern the exact nature of the charges. Solow, 2007 WL 917269, at *3.

        Here, each of the 14 counts repeats and incorporates paragraphs one through 122, which

 contain all factual allegations, irrespective of which Defendant, issuer, time period, or “scheme”

 to which they relate. Defendants are unable to determine, and are therefore left to speculate, as to

 which of the factual allegations are directed toward which count. For this reason alone, the

 Complaint should be dismissed in its entirety.




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Case 8:19-cv-00448-VMC-CPT Document 23 Filed 04/22/19 Page 16 of 43 PageID 175



        C.      Plaintiff’s Claims Should be Dismissed Pursuant to Federal Rule of Civil
                Procedure 12(b)(6) for Failing to State a Claim.

        Pursuant to Rule 12(b)(6), dismissal of a claim for relief is appropriate where the plaintiff

 fails to state a claim upon which relief can be granted. Fed. R. Civ. P. 12(b)(6). A plaintiff has an

 obligation to state the factual basis for its claim for relief and this “requires more than labels and

 conclusions, and a formulaic recitation of the elements of a cause of action will not do.” Twombly,

 550 U.S. 544, 555-56 (2007) (citations omitted). Pleadings may not contain a statement of facts

 that merely creates a suspicion of a legally cognizable right of action assuming that all the

 allegations in the complaint are true. See, e.g., Swierkiewicz v. Sorema N. A., 534 U.S. 506, 508,

 n. 1 (2002).

        Thus, in resolving a motion to dismiss, a court should employ a two-pronged approach,

 first “identifying and disregarding statements” that are merely “‘legal conclusion[s] couched as ...

 fact[ ]’ ” or “[t]hreadbare recitals of the elements of a cause of action.” Ocasio-Hernandez v.

 Fortuno-Burset, 640 F.3d 1, 12 (1st Cir. 2011) (citations omitted). Next, the remaining, non-

 conclusory, factual allegations in the complaint are analyzed as though they are true. Id.

                1.      The Sections 17(a) and 10b-5(b) claims should be dismissed because the
                        SEC has failed to allege Defendants “made” a “material”
                        misrepresentation to the investing public. (Counts 3 and 6).

        Count 6 alleges that Spartan, Island, and Dilley are liable for violations of Section 10(b)

 and Rule 10b-5(b) of the Exchange Act. To state a cause of action for a primary violation of

 Section 10(b) and Rule 10b-5, the SEC must prove that Defendants: “(1) made a material

 representation or a material omission as to which [they] had a duty to speak, or used a fraudulent




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Case 8:19-cv-00448-VMC-CPT Document 23 Filed 04/22/19 Page 17 of 43 PageID 176



 device; (2) with scienter; (3) in connection with the purchase or sale of securities.” SEC v. Merch.

 Capital, LLC, 483 F.3d 747, 766 (11th Cir. 2007).13

                              a.   Neither Spartan, Island, nor Mr. Dilley “made” a statement.”

            The first element of this claim requires evidence that the defendant “made” some material

 misrepresentation or omission. Id. In Janus, the Supreme Court explained what it means to

 “make” a statement within the meaning of that prohibition:

            For purposes of Rule 10b-5, the maker of a statement is the person or entity with
            ultimate authority over the statement, including its content and whether and how to
            communicate it. Without control, a person or entity can merely suggest what to say,
            not “make” a statement in its own right. One who prepares or publishes a statement
            on behalf of another is not its maker.

 Janus Capital Grp., Inc. v. First Derivative Traders, 564 U.S. 135, 142 (2011). In Janus, the Rule

 10b-5(b) elements were not established because the investment advisor merely “participate[d] in

 the drafting of the false statement” which another, independent entity decided to make.

            Here, there is no allegation of any material misstatement “made” by these Defendants. At

 most, the Complaint alleges that Spartan, through Mr. Dilley, passed along statements made by

 the issuer – an independent entity. 14 Because none of those statements was “made” by Spartan or

 Mr. Dilley, but were instead made by the issuer, they cannot be used to satisfy the first element of

 a 10b-5 claim. The claim should be dismissed.

            Furthermore, because the Complaint does not identify a single statement made by Island,

 Counts 3, 4 and 6 should be dismissed as to Island. 15




 13
   This element is also required to state a claim under 17(a)(1) and (a)(3) to the extent those allegations in
 the Complaint rest on a purported statement or omission. Merch. Capital, LLC, 483 F.3d at 766.
 14
      See ¶ 62, 63, 68, 69.
 15
      ¶ 81-99.


                                                      11
Case 8:19-cv-00448-VMC-CPT Document 23 Filed 04/22/19 Page 18 of 43 PageID 177



                              b.    Any statements attributable to Spartan or Mr. Dilley are not
                                    material.

             To the extent the Complaint does identify a statement attributable to Spartan or Mr. Dilley,

 it is not material. “[T]o fulfill the materiality requirement ‘there must be a substantial likelihood

 that the disclosure of the omitted fact would have been viewed by the reasonable investor as having

 significantly altered the “total mix” of information made available.’” Basic Inc. v. Levinson, 485

 U.S. 224, 239 (1988) quoting TSC Industries, Inc. v. Northway, Inc., 426 U.S. 438, 449 (1976). In

 determining whether a fact is “material,” it must be examined in the “context in which it is made.”

 17 C.F.R. § 230.156(b). A complaint may be dismissed for failure to plead materiality where the

 fact is so “obviously unimportant” to a reasonable investor that reasonable minds could not differ

 on the questions of its importance. In re Ply Gem Holdings, Inc. Sec. Litig., 135 F. Supp. 3d 145,

 150–51 (S.D.N.Y. 2015); In re KLX, Inc. Sec. Litig., 232 F. Supp. 3d 1269, 1275–76 (S.D. Fla.

 2017) (“Courts routinely examine the materiality of alleged misstatements and omissions at the

 pleading stage”).

             Out of the 191 paragraphs in the Complaint, the only “statements” that are arguably

 attributed to Spartan or Mr. Dilley are those made in the cover letter that accompanied the Form

 211 the application, and they are:16

            Spartan had been contacted by the owner of the company;

            The issuer was “not working with any consultants.”

            Spartan had no other relationships with the issuer or its representatives; and

            The officers and directors of the issuer have not requested a quotation on any other listing.

            The issuer was not “in negotiations for any actual or potential merger or acquisition”
             despite Dilley being aware that one of the companies (Kids Germ) “had been available for
             sale.”

 16
      ¶ ¶ 58, 60, 61, 62, 79, 80.


                                                      12
Case 8:19-cv-00448-VMC-CPT Document 23 Filed 04/22/19 Page 19 of 43 PageID 178



        Putting aside, for purposes of this motion, the truth or falsity of the SEC’s allegations, these

 statements are not material. Rule 15c2-11 requires that broker-dealers gather and maintain certain

 information regarding a company for which it submits a published quotation. 17 The information

 required is listed in subpart (a) of the Rule. § 240.15c2–11(a)(1). In gathering and reviewing the

 information required by the Rule, it is merely necessary to have a “reasonable basis” for believing

 that the information is accurate in all “material” respects. § 240.15c2–11(a).       A broker-dealer

 “satisfies the Rule if it has, in its possession, a prospectus as defined by Section 10(a) of the

 Securities Act[] that has been filed with the Commission and which has been in effect less than 90

 calendar days.” NASD Notice to Members 92-50, Procedures Regarding Securities and Exchange

 Commission Rule 15c2-11 and Schedule H, Section 4 of the NASD By-Laws. 18

        Nothing in Rule 15c2-11 requires that the broker-dealer disclose the information identified

 in the Complaint. Since disclosure of that information is not required under Rule 211, it is not

 “material” to the ultimate investor deciding whether or not to invest in the underlying company.

 Thompson v. RelationServe Media, Inc., 610 F.3d 628, 681 (11th Cir. 2010) (A duty of disclosure

 only arises when an “omitted fact was necessary to render a preexisting statement not misleading,

 or because securities law otherwise required its disclosure.”)

        Second, there is no “substantial likelihood” that one of these “statements” would have

 “significantly altered” the “total mix” of information available to a “reasonable investor” looking

 to purchase the underlying company (or a share in the underlying company). Reasonable investors

 do not base their investment decisions on, for example, who first contacted the broker-dealer to




 17
  § 240.15c2–11(a).
 18
  http://finra.complinet.com/en/display/display_main.html?rbid=2403&element_id=1675 (last visited
 Apr. 18, 2019).



                                                  13
Case 8:19-cv-00448-VMC-CPT Document 23 Filed 04/22/19 Page 20 of 43 PageID 179



 assist with Form 211. Indeed, the Form 211 application process, unlike the registration process, 19

 is private. No investors are ever made aware of either the questions FINRA asks or the information

 the issuer returns. Thus, it is impossible for these statements to have had any impact at all on a

 potential investor, let alone a “significant” impact. Cutsforth v. Renschler, 235 F.Supp. 2d 1216,

 1245 (M.D. Fla. 2002) (“[I]t hardly seems to suggest fraud that the defendants did not disclose that

 some sales representatives somewhere (maybe in Texas) were taking handwritten orders without

 entering them into the computer system.”); SEC v. Roanoke Tech. Corp., 2006 WL 2470329, at

 *4 (M.D. Fla. Aug. 24, 2006) (SEC cannot merely declare information material but instead must

 explain why a reasonable investor would have wanted to know the information.); Mogensen v.

 Body Corp., 15 F.Supp. 3d 1191, 1211 (M.D. Fla. 2014); Butterworth v. Quick & Reilly, Inc., 998

 F.Supp. 1404, 1411 (M.D. Fla. 1998) (“Plaintiff has failed to establish that the Defendant's failure

 to file a change of address form…is a material misrepresentation or omission. In fact, it is very

 unlikely that the disclosure of this fact would have been viewed by the “reasonable investor” as

 significantly altering the “total mix” of information made available to them.”) Miyahira v.

 Vitacost.com, Inc., 2012 WL 12895513, at *7 (S.D. Fla. June 28, 2012), aff'd, 715 F.3d 1257 (11th

 Cir. 2013); Nelson v. Hodowal, 512 F.3d 347, 350 (7th Cir. 2008) (“information that, when

 revealed, has no effect on the stock’s price is not ‘material’ to investors' decisions”).

            Third, and specifically with regard to the allegation that each Form 211 cover letter

 misrepresented that the issuer was not “in negotiations for any actual or potential merger or

 acquisition,”20 the Complaint is entirely devoid of facts supporting the conclusory allegation that

 this representation is misleading. In fact, the Complaint pleads the opposite. Contrary to the


 19
   Communications exchanged between issuers and the SEC as they attempt to get their public registration
 declared effective are publicly available alongside all filings at www.sec.gov/edgar.
 20
      ¶¶ 37, 40, 42, 50, and 62.


                                                   14
Case 8:19-cv-00448-VMC-CPT Document 23 Filed 04/22/19 Page 21 of 43 PageID 180



 conclusory representation in ¶ 62, (alleging that Spartan or Mr. Dilley made misrepresentations

 in the cover letter submitting the Form 211 application), paragraphs 37, 40, 41, 47, 48, 50 (which

 contain the supporting factual allegations) each specifically allege Spartan “learned” of the issuers’

 merger intent after the Form 211 application had been cleared. None of the allegations in the

 complaint contain facts sufficient to show that, at the time the statement in the application was

 transmitted to FINRA, Mr. Dilley or Spartan knew or should have known it was untrue.

         Moreover, the Complaint alleges generally that each of the Form 211 cover letters made

 this same misrepresentation, but only identifies one instance where Mr. Dilley purportedly had

 knowledge of a “negotiations for [an] actual or potential merger” at the time the application was

 pending. ¶ 62.21 Even with regard to the one identified instance, the conclusory allegation

 contained in ¶ 62 is insufficient to raise a “strong inference” of Mr. Dilley or Spartan’s knowledge,

 as required under Rule 9(b). As noted above, the moment of “knowledge” identified by the SEC

 comes long after the Form 211 application was submitted. Additionally, and putting Kids Germ

 aside, there are no facts in the complaint to support the general, conclusory allegation in ¶ 62 as

 to the 13 other companies at issue. These vague allegations fail to satisfy both Rule 9(b)’s

 particularity requirement and Rule 12(b)(6)’s requirement that then legal conclusions in the

 Complaint are supported by statements of fact that support them.

                         c.      None of the identified statements was made to the investing
                                 public.

         To meet the “in connection with” requirement, the SEC must set forth facts showing that

 “the misrepresentations in question were disseminated to the public in a medium upon which a

 reasonable investor would rely, and that they were material when disseminated.” Semerenko v.


 21
   That one instance, alleged generally in ⁋ 62 is discussed in ⁋ 37, where the SEC alleges that Spartan was
 aware that Kids Germ was “available for sale” at the time the Form 211 was cleared. Being “available for
 sale,” of course, is not tantamount to being “in negotiations for an actual….merger.”


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Case 8:19-cv-00448-VMC-CPT Document 23 Filed 04/22/19 Page 22 of 43 PageID 181



 Cendent Corp., 223 F.3d 165,175–76 (3rd Cir. 2000); SEC v. Texas Gulf Sulphur Co., 401 F.2d

 833, 860–62 (2d Cir. 1968) (misrepresentations are made “in connection with” the purchase of

 sale of securities when the statements are made “in a manner reasonably calculated to influence

 the investing public”).

         As stated above, the statements identified in the Complaint were made to FINRA in

 connection with its review of the respective Form 211 applications. Those communications are

 not public at the time they are made, or at any time thereafter. Accordingly, the statements were

 not “disseminated” to the public or otherwise capable of “influencing” the public’s investment

 decisions. Thus, Counts 3 and 6 must be dismissed.

                           d.    No evidence of scienter.

         See Section III. B. immediately below. Because there are no factual allegations sufficient

 to show that that Spartan, Mr. Dilley or Island acted with scienter, Count 6 should be dismissed.

         D.      The Complaint does not allege that Defendants acted with the requisite
                 scienter. (Counts 3 and 5-7).

         The claims brought under Section 17(a)(1) (Count 3) or any subpart of Rule 10(b)-5

 (Counts 5 – 7) each require that the SEC establish that Defendants acted with scienter or a “strong

 inference of fraudulent intent.” Novak v. Kasaks, 216 F.3d 300, 306 (2d Cir. 2000) (internal

 punctuation omitted); Aaron v. SEC, 446 U.S. 680, 697 (1980). Fraudulent intent may be

 established either (a) by alleging facts to show that defendants had both motive 22 and opportunity

 to commit fraud, or (b) by alleging facts that constitute strong circumstantial evidence of conscious

 misbehavior or recklessness. Novak, 216 F. 3d at 307. With regard to “recklessness,” the Eleventh

 Circuit requires the SEC to establish “severe recklessness,” which it defines as more than “merely



 22
   As set forth above, Spartan was prohibited by law from accepting payment for its assistance in the
 Form 211 process. Thus, the most common motive – financial gain – is conspicuously absent here.


                                                    16
Case 8:19-cv-00448-VMC-CPT Document 23 Filed 04/22/19 Page 23 of 43 PageID 182



 simple or inexcusable negligence” and instead requiring “an extreme departure from the standards

 of ordinary care” that “present[s] a danger of misleading buyers or sellers” and which is “either

 known to the defendant or so obvious that he must have been aware of it.” Mizzaro v. Home

 Depot, Inc., 544 F.3d 1230, 1238 (11th Cir. 2008).

        The Complaint does not plead facts alleging scienter under the “particularity” standard of

 Rule 9(b) or the more general standard under Rule 8(a). None of the red flags identified gives rise

 to the inference of unlawful conduct or recklessness.

                1.      Insufficiency of “Red Flags” Identified in the Complaint.

        The Complaint contains several purported “red flags” from which Plaintiff asks the Court

 to draw a reasonable inference of fraud, recklessness, or knowledge with regard to the 14

 Mirman/Rose Companies.23 The timing of those supposed red flags, and which of the processes

 described above (and therefore which Defendant) is at issue, is of central importance. The red

 flags during or relating to the Form 211 process fall into two categories: (1) purported red flags

 arising out of the statements contained in (or omitted from) the companies’ public securities filings,

 and (2) purported red flags arising out of communications with Mirman and Rose.

        While the Complaint lists the 14 companies at issue and some relevant dates, it contains

 only sporadic, specific factual allegations as to the “who, what, when” of the respective fraud

 supposedly committed by each. For companies where no specific facts are alleged, claims arising

 from those transactions should be dismissed under Rule 9(b) due to the total failure to comply with

 that Rule. For the companies where such facts are pled, they are addressed herein.




 23
    Defendants believe this term to be misleading. At the time of these events, the companies were
 independent public entities. Later, the SEC concluded they were “controlled” by Mirman or Rose and it
 coined this moniker. For continuity and clarity, this motion adopts the Complaint’s terminology that
 appears in ¶ 30 of the Complaint.


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Case 8:19-cv-00448-VMC-CPT Document 23 Filed 04/22/19 Page 24 of 43 PageID 183



                          a.       Red Flags arising out of the public filings with the SEC.

         The Complaint makes several general allegations that although the companies’ securities

 filings stated that they were operational entities with specific business plans, operations, and

 employees (¶ 31), Defendants “should have known” those representations were false and that the

 true intention of seeking a public quotation of the stock was to sell the company for its value as a

 “shell” (as opposed to its value as an operating business).24

         Plaintiff’s fraud claims are subject to Rule 9(b). Accordingly, as to the Section 17(a) and

 Section 10(b) claims (Counts 3, 4,25 5, 6 and 7), the element of intent (knowledge or recklessness)

 must be pled with particularity. With regard to the aiding and abetting allegations (Counts 2, 8, 9,

 10, 11, 12, and 13), the element of intent (knowledge or recklessness) and the element of

 “substantial assistance” are subject to the Rule’s heightened pleading requirement.

         The Complaint alleges that Spartan and Mr. Dilley knew or should have known that the

 information contained in the companies’ Forms S-1 regarding their stated business purpose and

 operations was false or fabricated, and that the actual, undisclosed intent of those companies was




 24
    “Shell Company” in this context is defined, under 17 CFR §230.405 means a registrant (i.e. the issuer of
 the securities for which the registration statement is filed) that has: (1) no or nominal operations and (2) no
 or nominal assets. A “Blank Check Company” is defined, under 17 CFR §230.419 to be a company that
 (i) is a development stage company that has no specific business plan or purpose or has indicated that
 its business plan is to engage in a merger or acquisition with an unidentified company or companies,
 or other entity or person; and (ii) is issuing “penny stock,” as defined in Rule 3a51-1 (17 CFR 240.3a51-
 1) under the Securities Exchange Act of 1934 (“Exchange Act”) (emphasis supplied). The SEC’s Complaint
 defines “shell company” and “blank check company” to be synonymous. (¶ 6). As discussed herein, this
 impacts the sufficiency of the pleading.
 25
    With regard to claims under the provisions of Section 17(a) of the Securities Act which only requires
 allegations of negligence, courts have required a plaintiff, including the SEC, to meet Rule 9(b)'s heightened
 pleading standard. See, e.g., SEC v. Wey, 246 F.Supp. 3d 894, 911 (S.D.N.Y. 2017) (dismissing the
 misrepresentation claim under Section 17(a)(2) because it did not meet Rule 9(b)'s requirements); SEC v.
 Thompson, 238 F.Supp. 3d 575, 591 (S.D.N.Y. 2017) (concluding that Section 17(a) claims “all sound in
 fraud,” so they must be pled with particularity). Sec. & Exch. Comm'n v. RPM Int'l, Inc., 282 F.Supp. 3d 1,
 13 (D.D.C. 2017).



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Case 8:19-cv-00448-VMC-CPT Document 23 Filed 04/22/19 Page 25 of 43 PageID 184



 to be sold as a “shell.” The Complaint alleges Spartan and Mr. Dilley should have known this

 undisclosed true intention based on the following “red flags”:

       The 14 companies had similarities, including (1) each filed an S-1 describing itself as a
        start-up company; (2) each was run exclusively by a sole officer; (3) each had similar
        annual budgets (although with “vastly different business plans”); (3) each had a similar
        initial small offering size (although the dates of the different offerings span years); and (4)
        the companies’ assets were all cash, in “substantially the same amount” (¶ 66);

       “many” of the companies had filed periodic public reports with the SEC reflecting no assets
        or revenues. (¶ 67); and

       During the 211 process for one of the entities (First Independence), FINRA questioned
        whether the public filings were correct in stating the company was not a blank check
        company and that it was, indeed, taking efforts to further the business plan. (¶ 74).

 None of these allegations pleads facts even suggesting that Defendants acted with “severe

 recklessness” beyond “merely simple or inexcusable negligence” in failing to detect that these

 representations made by the companies were untrue. Mizzaro, 544 F.3d 1230 at 1238.

        Despite pointing out the similarities in these entities, and insinuating some impropriety, the

 Complaint fails to articulate why these corporate similarities are indicative of fraud, rather than

 simply being common characteristics of any start-up company. Start-up companies tend to have

 very limited or no assets or revenues and few assets besides cash on hand. As the Complaint

 admits, however, these start-ups had “vastly different business plans” (¶ 66), registered with the

 SEC at different times over a five-year span (¶ 35), and had effective S-1s on file with the SEC,

 including audited financial statements. (¶ 30). Merely identifying certain similarities among the

 issuers here fails to plead any reasonable inference of impropriety sufficient to state a claim

 sounding in fraud.

        Equally problematic is the allegation (third bullet above) regarding First Independence

 (¶ 74). In this instance, the “red flag” was a question from FINRA asking whether the company

 was a shell, despite being designated as a non-shell in its securities filings. The SEC alleges that



                                                  19
Case 8:19-cv-00448-VMC-CPT Document 23 Filed 04/22/19 Page 26 of 43 PageID 185



 Mr. Lopez, the Firm’s CCO, failed to launch an investigation in response to FINRA’s questions.

 (¶ 74-75).

         Assuming for purposes of this motion that a routine FINRA inquiry is appropriately

 considered a “red flag,” the facts in paragraph 74 do not establish that Mr. Lopez acted recklessly

 in failing to investigate – or that an investigation was even warranted. 26 Here, the company’s

 public filings show that immediately after FINRA posed this inquiry and prior to its approval of

 the Form 211,27 First Independence filed an amended Form 10-Q expressly disclosing that “the

 registrant is a shell company:”28

         The purpose of this Amendment No. 1 to the Registrant’s Quarterly Report on Form
         10-Q for the quarterly period ended November 30, 2012 (“Form 10-Q”) is to correct
         a clerical error on the Form 10-Q cover page, where we incorrectly identified the
         Registrant as a non-shell company (as defined in Rule 12b-2 of the Exchange Act).
         We have corrected the error and have identified the Registrant as a shell
         company.

 Notwithstanding this correction and re-designation of the company as a shell, FINRA went on to

 approve the Form 211. (¶ 35).29

         In light of these public facts, the allegations in the Complaint do not sustain the sole,

 conclusory allegation made against Mr. Lopez, in ¶ 130, that he “recklessly” provided “substantial


 26
   Nor does this allegation give rise to the inference Mr. Lopez failed to act at all. To the contrary, the most
 reasonable inference is that, upon receiving FINRA’s inquiry, Mr. Lopez or someone at Spartan passed the
 question along to the issuer, who made the correction.
 27
  FINRA’s inquiry, referenced in ¶ 74 was sent on February 27, 2013. The Amended Form 10-Q was filed
 March 6, 2013. FINRA approved the Form 211 on March 25, 2013.
 28
    Emphasis supplied. First Independence Form 10-Q dated March 6, 2013. Publicly available at
 https://www.sec.gov/edgar/searchedgar/companysearch.html Courts may take judicial notice of relevant
 documents publicly filed with the SEC. Harris v. Ivax Corp., 182 F.3d 799, 802 n .2 (11th Cir. 1999);
 Bryant v. Avado Brands, Inc8., 187 F.3d 1271, 1278 (11th Cir. 1999); Thompson v. RelationServe Media,
 Inc., 610 F.3d 628, 631 n. 5 (11th Cir. 2010) (citing Bryant, supra ); La Grasta v. First Union Secs.
 Inc., 358 F.3d 840, 842 (11th Cir. 2004).
 29
    FINRA’s inquiry regarding First Independence was made on February 27, 2013. The Amended Form
 10-6 was filed on March 6, 2013. Spartan’s response to FINRA’s inquiry (which the Complaint does not
 alleges contained misrepresentation) was submitted on March 12, 2013.


                                                       20
Case 8:19-cv-00448-VMC-CPT Document 23 Filed 04/22/19 Page 27 of 43 PageID 186



 assistance” to Spartan’s “violations” of Rule 15c2-11. Nor does the Complaint support the general

 allegation that Mr. Lopez “substantially assisted” in a “scheme” to mislead either FINRA or a

 potential buyer as to the company’s shell status.

          The public disclosure of the company’s shell status likewise undercuts the general,

 conclusory allegation in the Complaint that “had the truth [about the company’s shell status] been

 known to the public the securities would have been restricted and such sales would have had little

 value.” First Independence was sold via “bulk transfer” in May 2013 (¶ 35) notwithstanding that

 it had publicly disclosed its shell status two months earlier. 30

                                   i.   “Red Flags” arising out of communications with Mirman or
                                        Rose.

          The Complaint also alleges that certain communications between Mirman or Rose and

 Spartan should have caused Spartan, Mr. Dilley, and, in some instances, Mr. Lopez, to doubt the

 publicly disclosed business intentions of each company. As above, the specific factual allegations

 in the Complaint relate to only a small handful of the 14 companies at issue. Those factual

 allegations are:

         Mr. Dilley received an email after the Form 211 had been submitted and approved,
          that indicated a buyer was interested in Kids Germ (¶ 37, 40, 41, 50);

         Mr. Dilley was advised via email, after the Form 211 had been approved for
          Obscene Jeans, that a clearing firm (retained to handle the DTC application process
          a particular company) had previously declined to process the application. The
          clearing firm later reconsidered and went ahead with the submission (¶ 39); and

         On one occasion, Mirman and Rose each called Spartan on the same day looking
          to start the Form 211 process for two different companies. (¶ 78)



 30
    Interestingly, the majority of the “red flags” above speak primarily to the buyer’s motivation – i.e., that
 the buyer wanted to purchase the entity solely because its securities were publicly traded (rather than for its
 operational value). The buyer’s motivation for buying the company does not give rise to the inference
 suggested by the SEC: that the seller’s business or business objectives at the time the S-1 registration
 statements were made effective or at the time the Form 211 was filed were untrue or entirely falsified.


                                                       21
Case 8:19-cv-00448-VMC-CPT Document 23 Filed 04/22/19 Page 28 of 43 PageID 187



 The first two “red flags” are insufficient as a matter of law as they arose after the Form 211 process

 was already complete and FINRA had approved the applications; therefore, neither Spartan nor

 Mr. Dilley could have recklessly or knowingly failed to detect them prior to their existence.

        With regard to Obscene Jeans, the Complaint alleges only that there was post-211 interest

 in buying the firm for shell value (¶ 41). As stated above, however, this does not lead to the

 conclusion suggested in the Complaint (¶ 43) that the company was, in fact, a shell or that it was

 pursuing the public quotation for the sole, undisclosed, purpose of selling itself as a shell. (Id)

        To the contrary, long after its Form 211 was approved, Obscene Jeans continued operating

 as a jeans company. The “bulk transfer” identified in the Complaint occurred in December 2010

 (¶ 35) when all shares of the company were transferred to the new CEO (¶ 44). 31 The original

 CEO, sole officer, and individual responsible for effectuating the business plan, however,

 remained with the company for another year, until November 2011, and the company’s securities

 filings throughout this period reflect its continued intention to manufacture jeans and clothing. 32

        The facts pled in the Complaint fail to support the general, conclusory statements that Mr.

 Dilley, Spartan or Mr. Lopez should have known or were reckless in not suspecting that these

 companies had made misrepresentations in their securities filings or otherwise misrepresented the

 reason that they were seeking a public market for their securities. This is especially the case for

 Obscene Jeans (and other companies like it that are not specifically addressed in the Complaint).




 31
      Obscene Jeans Form 8-K Dated January 10, 2011, publicly available at
 https://www.sec.gov/edgar/searchedgar/companysearch.html. See footnote 28 regarding Judicial Notice of
 securities filings.
 32
   Obscene Jeans Form 10Q July 2012, publicly available at
 https://www.sec.gov/edgar/searchedgar/companysearch.html.


                                                   22
Case 8:19-cv-00448-VMC-CPT Document 23 Filed 04/22/19 Page 29 of 43 PageID 188



 There are simply no facts that can be alleged to show the company was, in fact, was a “shell” or

 that it was acquired for its shell value. (¶ 4) 33

         Accordingly, the Complaint fails to state a claim for relief arising out of the purported “red

 flags” identified therein, or that Mr. Dilley and Spartan acted recklessly or knowingly in failing to

 detect the same.34

         E.       Failure to State a Claim for Aiding and Abetting (Counts 2 and 8-13).

                  1.      The Complaint Fails to Allege “Recklessness.”35

         The aiding and abetting allegations (Counts 2 and 8-13) require a showing that the alleged

 aider and abettor “knowingly rendered substantial assistance.” SEC v. Big Apple Consulting USA,

 Inc., 783 F.3d 786, 800 (11th Cir. 2015). More particularly, the Eleventh Circuit has determined

 that “a person may be held as an aider and abettor ... if the accused party has a general awareness

 that his role was a part of an overall activity that is improper, and if the accused aider-abettor

 knowingly and substantially assisted the violation.”2 Woods v. Barnett Bank of Fort

 Lauderdale, 765 F.2d 1004, 1009 (11th Cir. 1985) (quoting Woodward v. Metro Bank of

 Dallas, 522 F.2d 84, 94–95 (5th Cir. 1975)). The “awareness of wrong-doing requirement” in

 aiding and abetting cases was “designed to insure that innocent, incidental participants in


 33
   In fact, there are no facts pled to support the general allegation in ¶ 4 that the “essential value of the
 securities . . . was their designation as ‘free trading,’” that the “bulk sale” of each company “realized
 proceeds of hundreds of thousands of dollars,” or that public disclosure of the “shell” status would have
 caused them to have “little value.”
 34
   The Complaint contains no specific allegations regarding the purported red flags arising in the Form 211
 application of On the Move. Nonetheless, the public securities filings of this company shows that long after
 the “bulk transfer” identified by the Plaintiff, it continued operating in pursuit of the same business purpose
 set forth in the effective S-1, upon which the Form 211 filed by Spartan relied. Form 10K filed by On the
 Move Systems, Corp. dated June 2012.
 35
    Prior to the enactment of the Dodd Frank Act, effective July 22, 2010, claims for aiding and abetting
 liability under the securities laws required proof of actual knowledge by the defendant. Here, the SEC must
 plead actual knowledge with regard to the Kids Germ allegations (FINRA Clearance obtained January
 2010) and all conduct prior to that date. Because the Complaint fails to plead actual knowledge as to this
 transaction, it must be dismissed.


                                                       23
Case 8:19-cv-00448-VMC-CPT Document 23 Filed 04/22/19 Page 30 of 43 PageID 189



 transactions   later   found   to   be   illegal   are   not   subjected   to   harsh...administrative

 penalties.” Investors Research Corp. v. SEC, 628 F.2d 168, 177 (D.C. Cir. 1980).

        For the reasons set forth in Section D, above, the Complaint fails to allege that Defendants

 acted recklessly and, for that reason, each aiding and abetting count must be dismissed.

                2.      The Complaint fails to allege “substantial assistance.”

        The Complaint likewise fails to allege that Defendants “substantially assisted” the

 Mirman/Rose Companies in their alleged “scheme.” To plead substantial assistance properly, the

 SEC must show that Defendants were a “causal factor in the perpetuation of the fraud.” SEC v.

 Levin, 2013 WL 5588224 (S.D. Fla. Oct. 10, 2013). Substantial assistance occurs when a

 defendant affirmatively assists, helps conceal, or fails to act when required to do so. Lawrence v.

 Bank of America, N.A., 2010 WL 3467501 (M.D. FL Aug. 30, 2010). In determining whether the

 conduct amounts to “substantial assistance,” courts must take into account whether the activity is

 considered an “ordinary course” transaction involving “daily grist of the mill” or whether is an

 “atypical” transaction, lacking business justification. Woodward, 522 F.2d at 97; SEC v. Conrad,

 2017 WL 3485766, at *15 (N.D. Ga. Feb. 22, 2017), rev. on reconsideration in part, 2017 WL

 3500364 (N.D. Ga. May 2, 2017) (finding SEC failed to plead “substantial assistance” where it

 failed to show defendant had ability to control underlying decisions relating to the fraud). SEC v.

 Rio Tinto, 2019 WL 1244933, at *16 (S.D.N.Y. Mar. 18, 2019) (“The SEC cites no authority for

 the proposition that the mere “failure to correct” a misleading statement, without more, is

 equivalent to the “substantial assistance” needed to plead an aiding and abetting violation.”); Wey,

 246 F. Supp. 3d at 928 (“While the SEC urges that a defendant need not know every aspect of a

 fraudulent scheme to be liable for aiding and abetting it the complaint fails to allege that

 [defendant] knew of any part of the scheme apart from his own actions.”). SEC v. Lucent Techs.,

 Inc., 363 F. Supp. 2d 708, 726 (D.N.J. 2005).


                                                    24
Case 8:19-cv-00448-VMC-CPT Document 23 Filed 04/22/19 Page 31 of 43 PageID 190



         There are no specific allegations showing that Defendants “associated” themselves with

 the Mirman/Rose companies’ secret schemes. To the contrary, with regard to Mr. Dilley, he was

 the individual who handled the Form 211 applications. His role, under the highly formulaic

 requirements of Rule 15c2-11, was merely to collect specific information about the issuer and

 transmit it to FINRA.36 Simply assisting in the process that leads to public trading, without more,

 does not establish substantial assistance. Wey, 246 F. Supp. 3d at 927 (“Nor are there facts alleged

 that would support an inference that [defendant] knew or must have known of [the primary

 violator’s] false and misleading statements to Nasdaq, the SEC and others.”).

         Beyond that, the “assistance” Spartan and Mr. Dilley provided was to submit the Form 211,

 a form that can only be submitted by a market-maker broker-dealer (like Spartan) and for which

 FINRA rules expressly prohibit the broker-dealer from obtaining any compensation.37 Thus, the

 typical motivation for participating in a scheme – deriving some financial benefit – does not exist

 here. Instead, the motivation here was simply to request the public quotation of certain securities

 based on the publicly available information that existed at the time. There are no allegations that

 Defendants were attempting to “bring about” anything else. SEC v. Apuzzo, 689 F.3d 204, 212

 (2d Cir. 2012) (SEC must plead that the defendant “in some sort associated himself with the [the

 fraudster’s] venture, that [he] participated in it as something that he wished to bring about, and that

 he sought by his action to make it succeed.”)


 36
   See also SEC v. Surgilight, 2002 WL 31619081, at *3 (M.D. FL Oct. 15, 2002) (noting that orchestrating
 a reverse merger, assisting a company becoming publicly traded, and depositing shares in brokerage
 accounts to mislead investors does not show substantial assistance). See Lawrence,, 2010 WL 3467501 (to
 create accounts, transfer funds among accounts, make withdrawals from accounts, was insufficient to
 established that a defendant had substantially assisted a client’s fraud.) Greenberg v. Bear, Stearns &
 Co., 220 F.3d 22, 29 (2d Cir. 2000) (a clearing broker does not provide “substantial assistance” to or
 “participate” in a fraud when it merely clears trades).
 37
    NASD Rule 5250: “(a) No member or person associated with a member shall accept any payment or
 other consideration, directly or indirectly, from an issuer of a security… for publishing a quotation, acting
 as market maker in a security, or submitting an application in connection therewith.”


                                                      25
Case 8:19-cv-00448-VMC-CPT Document 23 Filed 04/22/19 Page 32 of 43 PageID 191



         With regard to Mr. Lopez, the Complaint is even more lacking. His conduct is limited to

 acting in a supervisory capacity, reviewing and approving the correspondence to FINRA

 (addressed above).38 His actions was nothing more than “daily grist of the mill” and nothing in

 the Complaint articulates any facts sufficient to suggest that he had any awareness that his actions

 were part of an improper or wrongful activity. Woodward, 522 F.2d at 97.

         Thus, even if the Court were to determine the “red flags” in the Complaint sufficient to

 constitute knowledge of the scheme at the time the Forms 211 were processed (or the securities

 quoted), the claim still fails because the SEC cannot establish substantial assistance.

         F.      No Scheme Liability (Counts 3- 5 and 7).39

         The SEC has alleged that Defendants “schemed to defraud” unidentified persons “in

 connection with” an unidentified purchase or sale of securities. (¶¶ 142-143). The first element

 of this claim requires a showing that the defendant “engaged in conduct that had the principal

 purpose and effect of creating a false appearance of fact in furtherance of the scheme.” Simpson

 v. AOL Time Warner, Inc., 452 F.3d 1040, 1048 (9th Cir. 2006), vacated on other grounds). “It is

 not enough that a transaction in which a defendant was involved had a deceptive purpose and

 effect; the defendant's own conduct contributing to the transaction or overall scheme must have

 had a deceptive purpose and effect.” Id. “For example, masterminding a misleading accounting

 scheme can suffice as conduct that furthers a fraudulent scheme.” SEC v. Berry, 580 F.Supp. 2d

 911, 923 (N.D. Cal. 2008); SEC v. Fraser, 2010 WL 5776401, at *7 (D. Ariz. Jan. 28, 2010).

         For the reasons set forth above, the SEC has failed to plead facts sufficient to show that

 Spartan, Island or Mr. Dilley committed a deceptive act in furtherance of a scheme, with scienter, 40


 38
    ¶¶ 75-77.
 39
    To the extent the claims under 10(b)-5(a) and (c) is based upon an alleged misrepresentation or
 omission, those allegations have been addressed above.
 40
    Section III. D.


                                                     26
Case 8:19-cv-00448-VMC-CPT Document 23 Filed 04/22/19 Page 33 of 43 PageID 192



 in connection with a purchase or sale of securities.41 Moreover, as stated herein, because the

 factual allegations set forth in the Complaint are never connected to any particular legal Count, it

 is impossible to determine which acts by which defendant, alone or taken together, is the “conduct”

 upon which these allegations are based and, in turn, it is impossible to determine whether that

 conduct was taken “in furtherance of a scheme” or for a “deceptive purpose.” Because the

 Complaint lacks sufficient facts to plead these counts, they should be dismissed.

            G.       The Complaint Fails To Allege a Section 5 Violation.

            Count 14 alleges that Spartan, Mr. Dilley, and Island violated Section 5 by participating

 “directly or indirectly” in the sale of securities when (1) no registration statement had been filed

 with the Commission and (2) no exemption existed. SEC v. CMKM Diamonds, Inc., 729 F.3d

 1248, 1255 (9th Cir. 2013). To establish a prima facie case for violation of Section 5, the SEC

 must show that (1) no registration statement was in effect as to the securities; (2) the defendant

 directly or indirectly sold or offered to sell securities; and (3) the sale or offer was made through

 interstate commerce. SEC v. Calvo, 378 F.3d 1211, 1214 (11th Cir. 2004) (per curiam).

                     1.    According to the Complaint, Registration Statements had been filed for
                           all Companies.

            The very first element of a Section 5 requires the absence of a registration statement. The

 Complaint, however, alleges that each company properly filed (and the SEC made effective) a

 registration statement prior to the transactions at issue. (¶ 27, 28, 30, 31, 33, 66, 67, 68, 100).

 Accordingly, the Complaint not only fails to state a prima facia Section 5 claim, it affirmatively

 pleads the contrary. Thus, the Section 5 Count should be dismissed.




 41
      Section III. C. 1.


                                                    27
Case 8:19-cv-00448-VMC-CPT Document 23 Filed 04/22/19 Page 34 of 43 PageID 193



                 2.      No Facts Supporting Indirect Seller liability under Section 5.

          Because there is no allegation showing Spartan, Island or Mr. Dilley to be a “direct” 42

 seller, the Complaint must allege that they “indirectly” participated in a sale; meaning that each

 defendant was a “necessary participant” or a “substantial factor” in an unregistered sale. SEC v.

 Calvo, 378 F.3d 1211, 1215 (11th Cir. 2004); see also SEC v. Holschuh, 694 F.2d 130, 139-40

 (7th Cir. 1982); SEC v. Murphy, 626 F.2d 633, 649-52 (9th Cir. 1980). Although, “conceivably,

 this broad[] standard could encompass a party whose acts in furtherance of the distribution were

 de minimis and who should not be held liable for registration violations,” in practice, “no court

 using the ‘necessary participant’ test has found liable a defendant whose acts were not a substantial

 factor in the sales transaction.” Id. at 651-52.

          In order to determine whether one is an indirect participant in an unregistered transaction

 or a de minimis participant, courts look beyond “but for” causation 43 because “numerous persons

 perform mechanical acts without which there could be no sale” but “these acts nonetheless do not

 render the defendants sellers.”

          The SEC’s Section 5 argument against Spartan, Island, and Mr. Dilley is as follows:

         Spartan, in connection with the Form 211 application, primarily went through Rose when
          communicating with the issuer. The SEC contends this was a “red flag” relationship;
         Rose transmitted the signed shareholder directives from the shareholders to Island;
         Because Rose was the primary point of contact, Island should have inferred that Rose was
          not merely the working for the officers or shareholders, but that he actually held complete
          dominion and control over those individuals (and, therefore, their shares);



 42
   The SEC does not allege that these defendants negotiated any sale, executed documents on behalf of any
 seller (SEC v. Calvo, 378 F.3d 1211, 1215 (11th Cir. 2004)), or was actively involved in promoting the
 company or preparing advertisements for the issuance (SEC v. Holschuh, 694 F.2d 130, 139 (7th Cir.
 1982)).
 43
   Murphy, 626 F.2d 633 at 650 (“For example, a printer may prepare key documents or a bank may advance
 cash to a customer upon the customer's presentation of an instrument and then pass the instrument to another
 person” yet these acts do not make those persons “sellers.”).


                                                     28
Case 8:19-cv-00448-VMC-CPT Document 23 Filed 04/22/19 Page 35 of 43 PageID 194



          In response to this supposed indicia of control, Island should have marked the shares
           “restricted”; and
          Had the shares been marked “restricted,” the “unregistered” sales would not have occurred.

 Thus, the SEC concludes that Spartan, Island, and Mr. Dilley are “necessary participants” or were

 a “substantial factor” in the fraud, not de minimis participants.

           The Murphy decision provides, perhaps, the best examples of a necessary participant in an

 unregistered sale. Murphy distinguished a mechanical act in the sales process (like printing the

 sales documents or processing the payments) from a meaningful role in effectuating the sale.

 Similarly, and perhaps even more factually analogous, in one of the only (partially) litigated

 Section 5 cases involving a transfer agent, the Ninth Circuit considered the conditions in which a

 transfer agent acts as a “necessary participant” versus a mechanical participant: 44

           We reject the SEC's contention that [defendants] are necessarily liable under
           Section 5 by virtue of their position as CMKM's transfer agent.
                                                    ***
           Here, the undisputed facts do not establish that [defendants] were substantial
           participants in the CMKM distribution as a matter of law. [Defendants] read
           opinion letters from Dvorak, instructing them to remove the restrictive legends
           from CMKM stock, and then issued large quantities of those shares without the
           restrictive legend. [Defendants] then requested a second opinion letter from Angell.
           After reading the Angell opinion letters, [defendants] continued to issue large
           quantities of shares without the restrictive legend. This conduct is in stark contrast
           to the actions taken by the defendants in Murphy, Phan, and Calvo. The defendants
           in those cases were integrally involved in the securities-distribution schemes, from
           devising the scheme to finding investors and buyers to structuring the sales. That
           [defendants] issued large quantities of shares without a restrictive legend after
           receiving two attorney opinion letters is insufficient, in and of itself, to establish
           that [defendants] were substantial factors as a matter of law.
           While the facts of CMKM Diamonds were in “stark contrast” to those in Murphy et al., the

 facts here “contrast” even further. In CMKM, the transfer agent was removing restrictive legends

 – something that a transfer agent can do only where the specific requirements of the Rule 144 safe


 44
      CMKM Diamonds, Inc., 729 F.3d at 1257–59.



                                                    29
Case 8:19-cv-00448-VMC-CPT Document 23 Filed 04/22/19 Page 36 of 43 PageID 195



 harbor are met.45 In that instance, the shareholder asks that a restriction be removed and submits

 documents and information establishing the rule has been satisfied and the safe harbor met. The

 transfer agent reviews that information and, if proper, removes the legend.

            There is no mirror for this process. That is, transfer agents are not obligated or empowered

 by any law to impose a restrictive legend on shares. Nor is it required, when transferring

 unrestricted securities, to perform any sort of analysis as to whether a restriction should be applied.

            Thus, CMKM is useful guidance in two respects. First, in applying the reasoning in

 Murphy to the specific case of a transfer agent, CKMK holds that merely acting as a transfer agent

 – while a required part of the share-transfer process – is insufficient to fulfil the “necessary

 participant” or “substantial factor” test under Section 5. Second, CMKM shows that a transfer

 agent is not automatically a “necessary participant” even in a scenario where it is asked by the

 issuer to review the propriety of a restrictive legend. Here, Island’s role as transfer agent was even

 smaller than that of the defendant in CMKM. Island was merely directed to transfer unrestricted

 shares, a process that does not require the Rule 144 analysis mandated in removing a legend, or

 any analysis whatsoever.

            The above authority highlights the deficiency in the Complaint as to the Section 5

 allegations. The Complaint fails to identify: (1) the legal obligation (or even authority) of a transfer

 agent to impose a restrictive legend sua sponte; (2) facts sufficient to create a reasonable inference

 that the shares at issue were not controlled by the shareholders whose signature appear on the

 transfer directive; or (3) facts sufficient to show that Island or Mr. Dilley “participated” in the

 transaction beyond the normal, mechanic role transfer agents occupy.

            Without facts sufficient to plead indirect liability, Count 14 must be dismissed.



 45
      17 C.F.R. §231.144.


                                                     30
Case 8:19-cv-00448-VMC-CPT Document 23 Filed 04/22/19 Page 37 of 43 PageID 196



         H.      The Majority of the Conduct at Issue is Time Barred.

         A majority of the SEC’s claims against Spartan, Island, and Dilley are time-barred because

 they are based on conduct that occurred nearly a decade ago – well outside of the five-year statute

 of limitations period set forth in 28 U.S.C. § 2462. The Supreme Court made clear that the five-

 year statute of limitations in § 2462 applies to all forms of relief sought in the Complaint that

 constitute a “penalty” including civil fines, penalties, and disgorgement. 46 See 28 U.S.C. § 2462;

 Kokesh v. SEC, 137 S. Ct. 1635, 1641- 1644; Gabelli v. SEC, 133 S. Ct. 1216 (2013) (it would be

 “‘utterly repugnant to the genius of our laws’ if an action for penalties could ‘be brought at any

 distance of time”). The SEC’s cause of action accrues on the date the conduct occurred, regardless

 of when the government discovered it. Id.

         The Supreme Court’s reasoning in Kokesh similarly compels the conclusion that the penny

 stock bar and the injunctive relief requested here are likewise barred. Although the Eleventh

 Circuit has previously considered this issue, in part, and determined that an injunction is not a

 “penalty” under § 2462, that ruling and its reasoning predates Kokesh, where the Supreme Court

 set forth the analysis for determining whether a remedy constitutes a penalty under § 2642. SEC

 v. Graham, 823 F.3d 1357, 1361 (11th Cir. 2016). In 2016, the Eleventh Circuit reasoned that

 injunctions were not penalties because they were typically forward looking in nature. Id. at 1361-

 1362. Two years later, in Kokesh, the Supreme Court set forth a different analysis for determining

 whether a particular remedy is a penalty under § 2642. Specifically, the unanimous decision

 explained that penalties (in that instance, disgorgement) are “imposed as a consequence of

 violating a public law and it is intended to deter, not to compensate.” Id. at 1644. Penalties are

 remedies that “‘go beyond compensation, are intended to punish, and label defendants wrongdoers'


 46
   While the SEC’s request for disgorgement is specifically limited to the applicable five-year limitation
 period, the other monetary penalties are not.


                                                     31
Case 8:19-cv-00448-VMC-CPT Document 23 Filed 04/22/19 Page 38 of 43 PageID 197



 as a consequence of violating public laws.” Id. Further, while recognizing that disgorgement may

 serve a partly remedial purpose in some cases, the Supreme Court held it was nevertheless subject

 to § 2642, because a “civil sanction that cannot fairly be said solely to serve a remedial purpose,

 but rather can only be explained as also serving either retributive or deterrent purposes, is

 punishment.” Id. (emphasis in the original)).

         Under the Kokesh reasoning, both the injunctive relief and the penny stock bar are sought

 for their punitive and deterrent purpose of punishing and labeling defendants as wrongdoers. Id.

 The SEC routinely seeks, and is awarded, these remedies because of their “retributive or deterrent

 purposes.” Kokesh v. SEC, 137 S. Ct. 1635, 1643 (2017) (penalties are sought “’in the public

 interest, to remedy harm to the public at large, rather than standing in the shoes of particular injured

 parties.’”) (quoting from the SEC’s brief); SEC v. Teo, 746 F.3d 90, 102 (C.A.3 2014) (The SEC

 pursues its claims “independent of the claims of individual investors” in order to “promot[e]

 economic and social policies”) (relied upon in Kokesh); SEC v. Gane, 2005 WL 90154, at *20

 (S.D. Fla. Jan. 4, 2005) (“[C]ivil penalties, like a permanent injunction, are imposed in part to deter

 the wrongdoer from similar conduct in the future.”); SEC v. Coplan, 2014 WL 695393, at *9 (S.D.

 Fla. Feb. 24, 2014); SEC v. Weintraub, 012 WL 13012751, at *2 (S.D. Fla. Jan. 10, 2012) (“[G]iven

 these circumstances, the Court shall issue an injunction to deter future violations.”); SEC v.

 Converge Glob., Inc., 2006 WL 907567, at *6 (S.D. Fla. Mar. 10, 2006) (“The Court has also taken

 into account the deterrent effect of the permanent injunction and penny stock bar issued today.”).

         Courts that have considered the Kokesh analysis, in the context of injunctions and conduct

 bars, and have applied the two-pronged analysis set forth by the Supreme Court, have concluded

 that injunctions and bars operate as a penalty. SEC v. Cohen, 332 F. Supp. 3d 575, 595 (E.D.N.Y.

 2018) (Because the SEC's requested obey-the-law injunction cannot be understood as “solely”




                                                   32
Case 8:19-cv-00448-VMC-CPT Document 23 Filed 04/22/19 Page 39 of 43 PageID 198



 remedial, it is a penalty for purposes of § 2462).47 Likewise, Kokesh called into question the long

 line of cases holding a bar or suspension to be “remedial” in nature. 48

           Here, as in Cohen, the Court should employ the Kokesh analysis to the instant case and

 conclude that the injunction and the bar sought by the SEC (1) are not “solely” remedial; (2) would

 seek to remedy wrongs committed against the United States, rather than an individual 49 (3) would

 function primarily or even in part to “stigmatize” defendants in the eyes of the public. 50

 Accordingly, the SEC’s claims, including those seeking an injunction and penny stock bar, are

 time barred to the extent the claims are based on conduct that occurred more than 5 years prior to

 the filing of the Complaint is barred in their entity.

           Where, as here, the causes of action asserted against Defendants are based on multiple

 transactions, the Court should dismiss the claims insofar as they rely on transactions outside the

 limitations period. SEC v. Radius Capital Corp., 2013 WL 3716394, at *2 (M.D. Fla. July 15,

 2013). As to the Harrison/Daniels companies, Spartan and its employees’ 51 involvement with the

 companies ended, at the latest, when the Form 211 for each company was cleared. The following

 charts summarize the limitation relating to the Harrison/Daniels companies:


 47
   But see SEC v. Collyard, 861 F.3d 760 (8th Cir. 2017) (finding under the facts of the case the injunction
 was not a penalty). Cohen expressly disagreed with the “forward-looking” analysis employed in Graham,
 in light of the analysis set forth in Kokesh. Id. at 594-595. (“Thus, a remedy might have a solely forward-
 looking purpose—namely, to deter future violations of the securities laws—and nevertheless be a penalty
 under Kokesh.”)
 48
    Saad v. Sec. & Exch. Comm'n, 873 F.3d 297, 304 (D.C. Cir. 2017) (remanded with instructions for
 Commission to consider impact of Kokesh on sanction authority). As Justice Kavanaugh points out in his
 concurring opinion: “[W]e ordinarily must stick with our precedents. But here, the Supreme Court's recent
 decision in Kokesh means that we can no longer characterize an expulsion or suspension as remedial. After
 the Supreme Court's decision in Kokesh, in other words, our precedents characterizing expulsions or
 suspensions as remedial are no longer good law.”
 49
      Indeed, the Complaint does state that any individuals were damaged or harmed by the conduct at issue.
 50
      Cohen, 332 F. Supp. 3d at 594.
 51
   The Complaint does not allege any involvement by Island with regard to the Harrison/Daniels
 companies.


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Case 8:19-cv-00448-VMC-CPT Document 23 Filed 04/22/19 Page 40 of 43 PageID 199




 The first three transactions are untimely and should be dismissed.

         With respect to the 14 companies relating to Mirman/Rose, the last identified conduct with

 regard to Spartan or Mr. Dilley is their alleged assistance in the companies’ DTC filings. 52 (¶ 35).

 As summarized in the following chart, all but three of the transactions are time barred:




 52
   While no defendant was responsible for the DTC applications, drawing all inferences in the SEC’s favor,
 that is the last identifiable date of conduct upon which the claims in the Complaint could be based. The one
 exception is Envoy Group, which did not file with DTC. For that company, the date of FINRA Form 211
 clearance was used. (¶ 35).


                                                     34
Case 8:19-cv-00448-VMC-CPT Document 23 Filed 04/22/19 Page 41 of 43 PageID 200



         With regard to Island’s role with the Mirman Rose companies, ten of the 12 transactions

 are barred.53




         Accordingly, all claims arising out of transactions other than Envoy Group, Changing

 Technologies, First Xeris, TTB/Ibex and PurpleReal are time barred and should be dismissed.

 III.    CONCLUSION

         For the foregoing reasons, Defendants Spartan, Island and Mr. Dilley and Mr. Lopez

 respectfully request that the Court dismiss the Complaint with prejudice and grant any other such

 relief as it deems proper.




 53
    Island’s last involvement in the 14 Mirman/Rose companies was, allegedly, performing the “bulk
 transfer” of the securities to the buyer group pursuant to an agreement between the buyer and seller.


                                                     35
Case 8:19-cv-00448-VMC-CPT Document 23 Filed 04/22/19 Page 42 of 43 PageID 201




 Respectfully submitted this 22nd day of April, 2019.



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Case 8:19-cv-00448-VMC-CPT Document 23 Filed 04/22/19 Page 43 of 43 PageID 202




                                  CERTIFICATE OF SERVICE

 I hereby certify that I served a true and correct copy of the foregoing DEFENDANTS SPARTAN

 SECURITIES GROUP, LTD., ISLAND CAPITAL MANAGEMENT, CARL E. DILLEY,

 AND DAVID D. LOPEZ’S MOTION TO DISMISS PLAINTIFF’S COMPLAINT AND

 INCORPORATED MEMORANDUM OF LAW on April 22, 2019, via the Court’s electronic

 filing system, on all counsel of record.




                                                 /s/ Alan M. Wolper


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